         Case 1:20-cv-01237-NBF Document 19 Filed 06/23/21 Page 1 of 1




          In the United States Court of Federal Claims
                                        No. 20-1237C
                                    (Filed: June 23, 2021)

                                            )
 TEJA RAVI,                                 )
                                            )
                      Plaintiff,            )
                                            )
 v.                                         )
                                            )
 THE UNITED STATES,                         )
                                            )
                      Defendant.            )
                                            )

                                   SCHEDULING ORDER

       The court is in receipt of the government’s June 22, 2021 motion for entry of a
protective order, ECF No. 18, which the plaintiff opposes, id. at 2. The government
seeks entry of a protective order because it anticipates that its supplemental brief in
support of its motion to dismiss, or in the alternative, motion for summary judgment, due
by June 25, 2021, may contain sensitive information involving law enforcement
operations that is not and should not be in the public domain. Id. at 1.

        In order to expeditiously resolve the matters before it, the court ORDERS that
plaintiff’s response in opposition to the government’s motion for entry of a protective
order is due by June 30, 2021. The government shall file a reply by July 7, 2021.

       The government’s supplemental brief in support of its motion to dismiss, or in the
alternative, motion for summary judgment, due by June 25, 2021, shall be filed under seal
pending the court’s resolution of the motion for entry of a protective order.

 IT IS SO ORDERED.

                                                             s/Nancy B. Firestone
                                                             NANCY B. FIRESTONE
                                                             Senior Judge
